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                EXHIBIT 5
 REDACTED VERSION
  OF DOCUMENT
SOUGHT TO BE SEALED
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                                                                Page 1
              UNITED STATES DISTRICT COURT

             NORTHERN DISTRICT OF CALIFORNIA

                  SAN FRANCISCO DIVISION


             Case No. 3:17-cv-00939-WHA
     _______________________________

     WAYMO LLC,                     )
                                    )
               Plaintiff,           )
                                    )
           v.                       )
                                    )
     UBER TECHNOLOGIES, INC.;       )
     OTTOMOTTO LLC;                 )
     OTTO TRUCKING,                 )
                                    )
               Defendants.          )
     _______________________________)


       HIGHLY CONFIDENTIAL, ATTORNEYS' EYES ONLY

                 VIDEOTAPED DEPOSITION OF

                      NICHOLAS GICINTO

            DATE TAKEN:     DECEMBER 21, 2017




     REPORTED BY:

     PAUL J. FREDERICKSON, CCR, CSR

     JOB NO. 2771353



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                                                               Page 19
1        chat feature.   It was not always convenient to      09:21:50

2        make a phone call.    So I would use the chat        09:21:53

3        if -- if I needed to send a quick message or if      09:21:57

4        I needed to collaborate with my colleagues or        09:22:00

5        my teammates, you know, on an issue where            09:22:03

6        multiple opinions would be useful and where          09:22:07

7        sometimes rapid communication was -- was             09:22:13

8        needed.                                              09:22:16

9              Q.      You could do a group chat feature      09:22:18

10       through Wickr; is that right?                        09:22:20

11             A.      Correct.                               09:22:21

12             Q.      Is it fair to say that the primary     09:22:22

13       benefits of using Wickr were that the                09:22:24

14       communications were ephemeral and secure or          09:22:27

15       encrypted?                                           09:22:30

16             A.      From my perspective, the primary       09:22:33

17       benefit was that the communication was secure.       09:22:38

18             Q.      Was another benefit that they          09:22:40

19       were -- that the communications were ephemeral?      09:22:41

20       So they couldn't be discovered later?                09:22:43

21             A.      I mean, it was a feature.    And       09:22:45

22       ephemerality is a feature of Wickr, yes.      It     09:22:47

23       isn't always necessarily a benefit if it's           09:22:51

24       difficult, when you're collaborating on a            09:22:54

25       project, to remember the conversation when           09:22:56
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                                                               Page 34
1        helpful for them -- for them to assess the           09:38:13

2        state of the technology and how well the cars        09:38:17

3        performed on the road as a litmus test against       09:38:19

4        where our own vehicles were and how they             09:38:22

5        performed.                                           09:38:24

6                Q.     Did your group do that                09:38:25

7        surveillance?                                        09:38:28

8                A.     Yes.                                  09:38:28

9                Q.     Was that on one occasion or more      09:38:34

10       than one occasion?                                   09:38:35

11               A.     Related to Waymo vehicles, one        09:38:38

12       occasion.                                            09:38:40

13               Q.     And can you tell me who went on       09:38:42

14       that trip, and how many days did it transpire        09:38:44

15       over?                                                09:38:48

16               A.     Again, approximately three to five    09:38:49

17       days.   It was from SSG, Jake Nocon, Ed Russo.       09:38:51

18               Q.     Anyone else?                          09:38:59

19               A.     Not from SSG.   Not from Uber.        09:39:00

20               Q.     Okay.                                 09:39:00

21                      Were there any LAT operatives on      09:39:03

22       these trips?                                         09:39:05

23               A.     I don't know.                         09:39:08

24               Q.     As far as you know, in connection     09:39:10

25       with the Waymo -- in connection with the             09:39:11
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                                                               Page 46
1              A.       Yes.   We played it over Zoom.        09:52:47

2              Q.       What was the feedback that you got    09:52:50

3        from Mr. Levandowski or Mr. Ron?                     09:52:52

4              A.       As I recall, it was rather            09:52:54

5        uneventful.                                          09:52:57

6              Q.       How long did that meeting last?       09:52:58

7              A.       I don't recall.                       09:53:00

8              Q.       Was it more than an hour?             09:53:01

9              A.       I don't think so.                     09:53:03

10             Q.      Was there any followup with            09:53:05

11       respect to the Waymo briefing or the Waymo           09:53:07

12       surveillance after the April 13 or 14 meeting?       09:53:10

13             A.      No, there were no further requests     09:53:14

14       related to Waymo after that, that I recall.          09:53:16

15             Q.      After April 13 or 14, did you do       09:53:22

16       any surveillance of Waymo vehicles or did            09:53:26

17       anyone on your team do that?                         09:53:30

18             A.      No.                                    09:53:30

19             Q.      What's the April 7, 2017, notation     09:53:39

20       that you have here?    It says:          briefing    09:53:42

21       for TK."    Can you tell me what that is?            09:53:48

22             A.      Sure.                                  09:53:52

23                     After the presentation to Anthony      09:53:52

24       Levandowski on March 30 or 31 related to the         09:53:53

25       condensed        video, Mr. Levandowski asked        09:53:56
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                                                               Page 58
1        at the -- the email from Joe Sullivan to             10:08:02

2        refresh my memory on that.                           10:08:08

3              Q.      Aside from the email from Joe          10:08:09

4        Sullivan, do you know of any reason why the          10:08:13

5        company stopped using Wickr?                         10:08:16

6              A.      No.                                    10:08:19

7              Q.      Aside from doing surveillance on       10:08:20

8        the two occasions of the          vehicles and       10:08:48

9        surveillance of the Waymo vehicles on the one        10:08:52

10       occasion that you mentioned, has your group or       10:08:55

11       are you aware of anyone else at Uber doing any       10:08:59

12       surveillance of competitors' autonomous              10:09:03

13       vehicles?                                            10:09:07

14             A.      So you're asking me if anyone at       10:09:14

15       Uber or including my team did any public             10:09:18

16       observations of any other vehicles besides           10:09:21

17             and Waymo?                                     10:09:26

18             Q.      Any kind of surveillance of other      10:09:28

19       vehicles, autonomous vehicles, yes, including        10:09:30

20       Waymo vehicles.                                      10:09:39

21             A.      So I am not aware of anyone in the     10:09:42

22       company doing any -- any public observations of      10:09:47

23       any competitors' vehicles with the exception of      10:09:53

24       what we've previously discussed.                     10:09:56

25             Q.      Now, you said public observations      10:10:04
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                                                               Page 59
1        of competitor vehicles.    Were there any other      10:10:07

2        kinds of other observations that you are             10:10:10

3        excluding from your answer with respect to           10:10:12

4        competitor vehicles?                                 10:10:16

5                A.    No.                                    10:10:16

6                Q.    How many folks are in the SSG          10:10:43

7        team?    Maybe you can list them for me.             10:10:45

8                A.    Presently?                             10:10:56

9                Q.    Yes.                                   10:10:56

10               A.    Myself, Ed Russo, Jake Nocon,          10:11:00

11       Julie Ambrose, Shawnee Delaney, Anna Chung,          10:11:03

12       Randy Wanis and Mat VanWaes.                         10:11:12

13               Q.    And how long have you been the         10:11:32

14       lead of the group?                                   10:11:32

15               A.    Since we hired Jake and Ed in          10:11:37

16       approximately July or August of 2016.                10:11:42

17               Q.    Was that when the group was            10:11:44

18       formed?                                              10:11:47

19               A.    More or less.   I was hired in         10:11:48

20       March of 2016, and there was no team.      I was     10:11:49

21       just an individual contributor.                      10:11:53

22               Q.    How did you get the job at Uber?       10:12:01

23               A.    Mat Henley hired me.                   10:12:04

24               Q.    How did Mat Henley know about you?     10:12:06

25               A.    I was referred by a mutual             10:12:09
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                                                               Page 68
1              Q.      Yes.                                   10:34:34

2              A.      Yes, I understand.                     10:34:37

3              Q.      Tell me what the Nextcloud system      10:34:45

4        is generally.                                        10:34:47

5              A.      It was a virtual storage device or     10:34:50

6        system which allowed SSG members and others in       10:34:58

7        security to collaborate on projects safely and       10:35:09

8        securely.                                            10:35:14

9              Q.      This was a system that was             10:35:15

10       separate from Uber's computer systems and            10:35:16

11       servers; right?                                      10:35:19

12             A.      That's correct.                        10:35:20

13             Q.      And what was the purpose of having     10:35:21

14       this kind of system?                                 10:35:22

15             A.      To maximize the -- the security        10:35:25

16       and protection of the data.                          10:35:27

17             Q.      Did you believe that Uber's            10:35:30

18       computers and systems were not secure enough?        10:35:33

19             A.      I think we saw after the Atlassian     10:35:36

20       hack and the OneLogin hack that there were           10:35:39

21       certainly vulnerabilities within Uber systems,       10:35:43

22       and we didn't what this data to be compromised       10:35:46

23       or vulnerable.                                       10:35:51

24             Q.      Whose idea was it to use the           10:35:52

25       Nextcloud system?                                    10:35:56
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                                                               Page 70
1              A.      No.                                    10:37:28

2              Q.      Okay.    Which one of them are         10:37:31

3        outside of the SSG group?                            10:37:32

4              A.      Well, Mat Henley is director of        10:37:34

5        Threat Ops.   Susan Chiang was our business          10:37:37

6        operations liaison to security, reported to Joe      10:37:41

7        Sullivan.                                            10:37:47

8              Q.      Did anyone outside of the groups       10:37:47

9        within security have access to Nextcloud?            10:37:57

10             A.      Not that I recall, no.                 10:38:01

11             Q.      Was there a system in place prior      10:38:02

12       to Nextcloud to store sensitive information          10:38:05

13       outside of Uber's computer systems?                  10:38:08

14             A.      What do you mean by "system"?          10:38:11

15             Q.      Cloud service or other storage         10:38:15

16       repository?                                          10:38:17

17             A.      There was no formal system.      I     10:38:18

18       think the team would use Dropboxes for storage       10:38:22

19       of data.                                             10:38:26

20             Q.      And that was storage of sensitive      10:38:28

21       information that wasn't information that was         10:38:30

22       stored on Uber's computer systems?                   10:38:33

23             A.      It -- it's possible that it was        10:38:40

24       stored on Uber's computer systems or                 10:38:42

25       transferred from.     The Drop- -- the Dropbox       10:38:45
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                                                               Page 71
 1       accounts were connected to Uber laptops.      So at   10:38:50

 2       some point that information did touch Uber            10:38:54

 3       systems.                                              10:38:58

 4              Q.      Is it your understanding that          10:38:59

 5       there was some information, sensitive                 10:39:00

 6       information that was stored on Dropbox that was       10:39:04

 7       not on Uber's system?                                 10:39:06

 8              A.      It was -- there is information         10:39:11

 9       that was stored on Dropbox.     Whether or not        10:39:13

10       that information wasn't also on Uber systems or       10:39:17

11       didn't touch Uber systems, it's difficult for         10:39:21

12       me to say.                                            10:39:24

13              Q.     Was the Nextcloud system                10:39:29

14       implemented because there was a view that             10:39:32

15       Dropbox wasn't secure enough?                         10:39:35

16              A.     Nextcloud was a -- was a                10:39:38

17       next-level security type of a system, yes.            10:39:41

18              Q.     What was the company that ran --        10:39:45

19       ran that system?    Were they called Nextcloud?       10:39:47

20              A.     It was the -- Nextcloud was the         10:39:50

21       platform.    It was kind of the -- this is a          10:39:51

22       nontechnical term but kind of the operating           10:39:55

23       system, for lack of a better term.      Again, I'm    10:39:58

24       not very technical.    So --                          10:40:00

25              Q.     Do you know what company ran that       10:40:04
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                                                               Page 74
 1       renewal for the system, and Mat was not               10:42:11

 2       particularly happy with the system.      And what     10:42:15

 3       we also possessed at that time, which we didn't       10:42:21

 4       possess when we began the Nextcloud project,          10:42:25

 5       was the ability to transfer files securely via        10:42:29

 6       Wickr.    We had that ability at the time that he     10:42:32

 7       asked me to shut down the -- the Nextcloud            10:42:36

 8       system.                                               10:42:41

 9                     We didn't have -- Wickr didn't          10:42:42

10       have that capability or functionality in the          10:42:44

11       fall of 2016.                                         10:42:47

12              Q.     What kind of information was            10:42:51

13       stored on the Nextcloud system?                       10:42:54

14              A.     SSG budgets.    SSG sort of raw         10:43:06

15       information that was collected.     Some finished     10:43:12

16       product that was disseminated to the business.        10:43:21

17       Background research.                                  10:43:26

18              Q.     Anything else you can think of?         10:43:37

19              A.     I -- I think that's a -- generally      10:43:39

20       sort of covers it.                                    10:43:43

21              Q.     Generally speaking, was all of the      10:43:47

22       work product that SSG created during the time         10:43:48

23       that Nextcloud was in place stored on the             10:43:50

24       Nextcloud system?                                     10:43:54

25              A.     I'm sorry.    You have to run that      10:43:56
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                                                               Page 75
 1       one by me again.                                      10:43:57

 2               Q.    Sure.                                   10:43:58

 3                     Generally speaking, was all of the      10:43:59

 4       work product that SSG created during the time         10:44:01

 5       that the Nextcloud system was in place also           10:44:03

 6       stored on the Nextcloud system?                       10:44:07

 7               A.    Generally, I would say that's           10:44:13

 8       fair.    I'm sure there were exceptions.              10:44:18

 9               Q.    But as a default manner of when         10:44:19

10       you would create work product within SSG, you         10:44:23

11       would store that on the Nextcloud system as           10:44:26

12       opposed to on Uber's computer system.      Is that    10:44:29

13       fair?                                                 10:44:31

14               A.    I -- I think the Nextcloud system       10:44:34

15       was more of a -- of a repository for the raw          10:44:35

16       information so that the team members could            10:44:39

17       collaborate on actually producing a product,          10:44:42

18       but that once the product was finished, that it       10:44:45

19       was transferred over to Uber's system so it           10:44:47

20       could actually be of use or value to someone.         10:44:51

21               Q.    What happened to all of the             10:44:57

22       information that was stored on Nextcloud once         10:44:58

23       you stopped using that system?                        10:45:00

24               A.    Prior to -- prior to shutting it        10:45:01

25       down, it was transferred to a different media.        10:45:06
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                                                               Page 76
 1              Q.     Which was what?                         10:45:08

 2              A.     Onto a thumb drive.                     10:45:09

 3              Q.     Is that in your possession?             10:45:10

 4              A.     Yes.                                    10:45:10

 5              Q.     Does anyone else have access to         10:45:12

 6       that thumb drive?                                     10:45:14

 7              A.     Anyone who asked for it or had a        10:45:16

 8       need to could have access to it.     I also           10:45:18

 9       transferred all of the files from the thumb           10:45:20

10       drive onto my Uber laptop.                            10:45:23

11              Q.     Just onto the local hard drive?         10:45:25

12              A.     Correct.                                10:45:27

13                     MR. UMHOFER:    How about Wilmer?       10:45:31

14                     THE WITNESS:    I'm sorry.   Thank      10:45:32

15              you.                                           10:45:34

16              A.     The thumb drive and my laptop were      10:45:35

17       imaged by Wilmer Hale in late July of 2017.           10:45:38

18              Q.     Do you know whether that thumb          10:45:48

19       drive or an image of it has been given to             10:45:49

20       attorneys in this litigation?                         10:45:52

21              A.     I don't know.                           10:45:54

22              Q.     You said it cost approximately          10:45:54

23       60,000 dollars per year for the Nextcloud             10:46:03

24       system; is that right?                                10:46:04

25              A.     That was the renewal to maintain        10:46:05
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                                                               Page 78
 1              A.     No.                                     10:47:39

 2              Q.     All right.                              10:47:39

 3                     What did you talk to Mat Henley         10:47:42

 4       about?                                                10:47:44

 5              A.     I asked Mat Henley whether he was       10:47:45

 6       aware of anything that Threat Ops did to              10:47:47

 7       collect competitive intelligence on Waymo or          10:47:51

 8       Project Chauffeur.                                    10:47:56

 9              Q.     Okay.                                   10:47:57

10                     What did he tell you?                   10:47:58

11              A.     He said that he was not aware of        10:47:59

12       anything and that Threat Ops, to his knowledge,       10:48:02

13       did not engage in any collection of competitive       10:48:05

14       intelligence on Waymo or Project Chauffeur.           10:48:09

15              Q.     Did he tell you anything else?          10:48:11

16              A.     He did not.    Well -- pardon me.       10:48:13

17       With the exception of he confirmed that there         10:48:20

18       was never any attempt to gather nonpublic             10:48:23

19       information, including trade secrets of Waymo         10:48:25

20       or Project Chauffeur.                                 10:48:29

21              Q.     Did you ask him about whether he        10:48:45

22       had any knowledge about Mr. Levandowski's             10:48:48

23       downloading of Google confidential information?       10:48:51

24              A.     No.                                     10:48:56

25              Q.     Did you ask him whether he had          10:49:03
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                                                               Page 79
 1       ever investigated that subject?                       10:49:06

 2              A.     No.                                     10:49:06

 3              Q.     You had a conversation with             10:49:25

 4       Mr. Maher as well on topic number 5?                  10:49:26

 5              A.     Correct.                                10:49:30

 6              Q.     Tell me about that conversation.        10:49:30

 7              A.     I asked him whether Marketplace         10:49:33

 8       Analytics or whether Mr. Maher was aware of the       10:49:38

 9       collection of any competitive intelligence            10:49:41

10       Way- -- on Waymo or Project Chauffeur by Uber         10:49:43

11       or any person or entity acting on Uber's              10:49:46

12       behalf, including any efforts by Uber or any          10:49:50

13       person or entity acting on Uber's behalf to           10:49:54

14       gather nonpublic information including trade          10:49:56

15       secrets of Waymo or Project Chauffeur.      And he    10:49:58

16       said that he was not aware of anything and that       10:50:00

17       MA did not, to his knowledge, participate in          10:50:03

18       any such activities.                                  10:50:05

19              Q.     Did you ask him about any of the        10:50:08

20       allegations related to Mr. Levandowski's theft        10:50:09

21       of Google confidential information?                   10:50:14

22              A.     I did not ask him about that.           10:50:17

23              Q.     And he didn't tell you anything         10:50:24

24       about that too; is that right?                        10:50:25

25              A.     He did not mention anything about       10:50:27
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                                                               Page 80
 1       Mr. Levandowski.                                      10:50:30

 2              Q.     Did he say anything else other          10:50:34

 3       than what you've just discussed with me?              10:50:36

 4              A.     No, sir.                                10:50:38

 5              Q.     What did you discuss with               10:50:47

 6       Mr. Meyhofer?                                         10:50:48

 7              A.     I asked Mr. Meyhofer whether he         10:50:50

 8       was aware as the head of ATG if ATG had a             10:50:52

 9       competitive intelligence program and had              10:50:57

10       engaged in any collection of any competitive          10:50:59

11       intelligence on Waymo or Project Chauffeur in         10:51:02

12       line with the topic, and specifically as it           10:51:04

13       mentions any person or entity acting on Uber's        10:51:11

14       behalf to gather nonpublic information,               10:51:14

15       including trade secrets of Waymo or Project           10:51:16

16       Chauffeur.                                            10:51:18

17                     His response was he was only aware      10:51:19

18       of some -- some sort of information gathering         10:51:21

19       by Joe Sullivan prior to his becoming head of         10:51:27

20       ATG, and that once he became head of ATG, he          10:51:33

21       asked Lior Ron to cease those activities.             10:51:37

22              Q.     You said there was information          10:51:56

23       gathering by Joe Sullivan prior to the time           10:51:57

24       that Mr. Meyhofer became head of ATG?                 10:52:00

25              A.     Yes.   He was referencing               10:52:04
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                                                               Page 81
 1       the -- the videotaping of Waymo vehicles.             10:52:05

 2              Q.      The videotaping we discussed           10:52:14

 3       earlier today?                                        10:52:16

 4              A.      Yes, sir.                              10:52:16

 5              Q.      And when did Mr. Meyhofer become       10:52:17

 6       head of ATG?                                          10:52:28

 7              A.      Approximately May of 2017.             10:52:40

 8              Q.      Was that after the surveillance of     10:52:44

 9       the Waymo vehicles that you mentioned earlier?        10:52:47

10              A.      Yes.                                   10:52:47

11              Q.      According to your -- this Exhibit      10:53:05

12       9677, and I believe your testimony earlier,           10:53:05

13       after April 13 or 14 where the Waymo briefing         10:53:09

14       was discussed, there was no further followup or       10:53:13

15       discussion of surveillance of Waymo vehicles;         10:53:16

16       correct?                                              10:53:16

17              A.      That's correct.                        10:53:19

18              Q.      So what was it that you understand     10:53:20

19       Mr. Meyhofer said to Mr. Ron about ceasing            10:53:26

20       surveillance of Waymo vehicles if at that point       10:53:31

21       there was no surveillance going on?                   10:53:35

22              A.      There was one more trip to San         10:53:38

23       Francisco related to          that took place in      10:53:41

24       May, but there was no presentation.                   10:53:45

25              Q.      When Mr. Meyhofer had become head      10:54:01
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                                                               Page 84
 1       Mr. Meyhofer mentioned Joe Sullivan in the            10:56:21

 2       context of you asking about what's listed in          10:56:24

 3       topic number 5; right?                                10:56:28

 4              A.      Yes.                                   10:56:31

 5              Q.      So what was the context of him         10:56:31

 6       mentioning Joe Sullivan?     That's all I'm trying    10:56:34

 7       to find out.                                          10:56:36

 8              A.      That the -- the activities were        10:56:37

 9       taking place within the security org, of which        10:56:39

10       Joe Sullivan was head of security.                    10:56:41

11              Q.      Was there anything else he said        10:56:42

12       about Joe Sullivan?                                   10:56:44

13              A.      No.                                    10:56:44

14              Q.      Have you told me everything about      10:57:08

15       your conversation with Mr. Meyhofer?                  10:57:09

16              A.      Yes.                                   10:57:09

17              Q.      What did you discuss with Cameron      10:57:12

18       Poetzscher?                                           10:57:16

19              A.      I asked whether or not the             10:57:17

20       business and corporate development team had           10:57:18

21       engaged in any competitive intelligence               10:57:20

22       activities on Waymo or Project Chauffeur and          10:57:23

23       specifically if there was any attempt to gather       10:57:27

24       nonpublic information, including trade secrets        10:57:29

25       of Waymo or Project Chauffeur, and he said no.        10:57:31
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                                                               Page 87
 1       Arizona, do you have any knowledge about either       11:00:26

 2       your group or the ATG group using ephemeral           11:00:30

 3       communications to communicate about information       11:00:35

 4       related to either Google or Waymo?                    11:00:39

 5              A.     No, I don't.                            11:00:42

 6              Q.     You can't say one way or the other      11:00:46

 7       whether that happened; correct?                       11:00:48

 8              A.     I can't speak for everyone in the       11:00:50

 9       company or anyone at ATG because I -- I don't         11:00:52

10       know about ATG's communications.     But my team      11:00:55

11       and in terms of interactions I had with my            11:00:59

12       team, we've never discussed anything related to       11:01:02

13       Google or Waymo that I can recall within              11:01:05

14       ephemeral messaging apart from what we                11:01:09

15       previously discussed related to our public            11:01:11

16       observations of Waymo vehicles in Phoenix.            11:01:13

17              Q.     This is going back a bit.     But in    11:01:31

18       connection with the training and meetings that        11:01:33

19       you had with the ATG group --                         11:01:35

20              A.     Okay.                                   11:01:40

21              Q.     -- or that your group had with the      11:01:40

22       ATG group, was the subject of nonattributable         11:01:42

23       or misattributable devices discussed?                 11:01:45

24              A.     No.                                     11:01:45

25              Q.     Do you know whether anyone on the       11:01:55
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 20 of 65


                                                               Page 89
 1              Q.     And what was the purpose of your        11:03:12

 2       use of misattributable devices?                       11:03:15

 3              A.     To protect my -- my affiliation         11:03:19

 4       with Uber with regards to the research that we        11:03:20

 5       would do on threat actors, threat -- you know,        11:03:25

 6       threatening individuals where we needed to            11:03:33

 7       flesh out the nature of the threat while              11:03:36

 8       protecting our identity so we didn't put              11:03:39

 9       ourselves at risk.    And then the device was         11:03:43

10       also -- would also be used to connect with the        11:03:51

11       Nextcloud system.                                     11:03:54

12              Q.     Did you always connect to the           11:03:57

13       Nextcloud system through a misattributable            11:03:59

14       device?                                               11:04:01

15              A.     Yes.                                    11:04:01

16              Q.     And was that to prevent any             11:04:05

17       information on -- that was stored on the              11:04:07

18       Nextcloud system from coming onto the Uber            11:04:09

19       systems?                                              11:04:12

20              A.     The point of connecting to              11:04:14

21       a -- with a misattributable device was to             11:04:17

22       protect the integrity of the information and          11:04:21

23       the data so that whenever the -- the connection       11:04:23

24       happened, that it was done so in a secure             11:04:27

25       fashion.                                              11:04:30
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 21 of 65


                                                               Page 94
 1              A.     I believe that some members would       11:09:09

 2       use the -- their misattributable devices to try       11:09:11

 3       to identify entities committing fraud on the          11:09:17

 4       platform in the deep web in foreign countries,        11:09:21

 5       which cost the company significant amounts of         11:09:25

 6       money every year.                                     11:09:30

 7              Q.     And how would using the                 11:09:39

 8       misattributable devices help in that regard?          11:09:40

 9              A.     Well, when you're -- when you're        11:09:43

10       looking in the deep web with individuals              11:09:45

11       committing fraud, they are typically                  11:09:47

12       computer-savvy individuals.     And if they saw       11:09:51

13       you approaching from an Uber IP address or an         11:09:54

14       Uber device and they themselves are committing        11:09:57

15       fraud on the Uber platform, it would -- it            11:09:59

16       would -- it would prohibit your ability to            11:10:02

17       engage with them and -- and try and -- and            11:10:04

18       discern their -- their -- their methods for how       11:10:08

19       they, you know, engage in these activities so         11:10:12

20       that we could then, you know, create, produce         11:10:15

21       countermeasures that would shut them down.            11:10:18

22              Q.     So did you -- in connection with        11:10:21

23       that did you and your team use other identities       11:10:22

24       to try to shut down that front?                       11:10:28

25              A.     We have one individual on our team      11:10:29
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                                                              Page 103
 1       taken quite some time and it would have been          11:21:35

 2       very inefficient.                                     11:21:38

 3              Q.      Do you know whether any                11:21:47

 4       misattributable devices were ever used for the        11:21:48

 5       purpose of conducting competitive intelligence?       11:21:51

 6              A.      How would you define "competitive      11:21:57

 7       intelligence"?                                        11:21:59

 8              Q.      Have you heard that term before?       11:22:00

 9              A.      I've heard the term before, yes.       11:22:02

10       I see it written here.                                11:22:06

11              Q.      What's your understanding of what      11:22:09

12       that means in general?                                11:22:10

13              A.      Gathering information or               11:22:17

14       acquisition of information used to -- to gain         11:22:21

15       some sort of an advantage.                            11:22:25

16              Q.      Using that definition, have            11:22:27

17       misattributable devices ever been used by folks       11:22:29

18       in your group or, to your knowledge otherwise,        11:22:36

19       at Uber to conduct competitive intelligence?          11:22:40

20              A.      The team used those laptops on         11:22:46

21       occasion for research into individuals that           11:22:55

22       would be considered -- or not individuals, but        11:22:59

23       rather companies that would be considered             11:23:02

24       competitors.   But the research by nature was         11:23:04

25       for background purposes to help educate the           11:23:06
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 23 of 65


                                                              Page 104
 1       team and better inform the team on who the            11:23:11

 2       competitor is.                                        11:23:14

 3              Q.     Can you give me any specific            11:23:20

 4       examples about -- of that?                            11:23:23

 5              A.     As an example, if the team was          11:23:25

 6       asked to -- anticipating whether or not the           11:23:29

 7       team was going to be asked to look into, you          11:23:35

 8       know, like Waymo vehicles on the street.      For     11:23:42

 9       the team to -- to do that, it would need to do        11:23:47

10       some sort of initial background research to           11:23:49

11       research:   What does a Waymo vehicle look like?      11:23:52

12       What are, you know, the areas from press              11:23:56

13       articles that we see them operating?     To give      11:23:58

14       us basic background information so that we can        11:24:03

15       do our job.   Otherwise, we show up there, and        11:24:06

16       if we haven't done our preparation and                11:24:24

17       homework, we're going to be very inefficient at       11:24:26

18       doing our job.                                        11:24:29

19              Q.     Did you prepare to testify on           11:24:45

20       topic number 8?                                       11:24:48

21              A.     Yes.                                    11:24:48

22              Q.     It says here:                           11:24:54

23                     "Surveillance conducted by or at        11:24:56

24       the direction of defendants of any persons who        11:24:57

25       are witnesses or attorneys in this case."             11:24:59
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                                                              Page 120
 1                     I don't fully understand what it        11:46:25

 2       means by intrusion into competitor off-site           11:46:26

 3       meeting locations because it's rather                 11:46:30

 4       nonspecific what intrusion means.                     11:46:32

 5                     And the taking of photographs of        11:46:37

 6       competitor proprietary products or information        11:46:42

 7       in a nonpublic setting without authorization          11:46:46

 8       would also seem to have -- that would seem to         11:46:48

 9       be something that might have -- again, without        11:47:07

10       being an expert on these things, it might have        11:47:13

11       legal implications.    So I don't know whether,       11:47:15

12       again, it falls under the category of invasive        11:47:17

13       or legal, but I don't know.                           11:47:19

14              Q.     Did your team ever do the things        11:47:21

15       that are listed here?                                 11:47:23

16                     MR. GONZALEZ:   Object to form.         11:47:27

17                     MR. UMHOFER:    And I'm going to        11:47:28

18              object to this question to the extent          11:47:29

19              that it asks for information beyond the        11:47:31

20              scope of the Court's order defining the        11:47:33

21              scope of these depositions.    And I'm         11:47:37

22              going to instruct the witness to answer        11:47:38

23              only as to competitive intelligence.           11:47:40

24              A.     My team did not steal competitor        11:48:08

25       information from offices or other locations.          11:48:14
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                                                                Page 121
 1       We did not retrieve documents from dumpsters.          11:48:17

 2       As I've testified earlier, my team has not             11:48:24

 3       recorded individuals without their consent.       We   11:48:28

 4       have not intruded into competitor off-site             11:48:34

 5       meeting locations.    We have not taken                11:48:40

 6       photographs of competitor proprietary products         11:48:41

 7       or information in a nonpublic setting without          11:48:44

 8       authorization.                                         11:48:46

 9              Q.       Are you aware of any other teams       11:48:48

10       at Uber doing those things for competitive             11:48:49

11       intelligence?                                          11:48:53

12              A.     I am not aware.                          11:48:57

13              Q.     Marketplace Analytics team.    Do        11:48:59

14       you know whether they ever did any of those            11:49:00

15       things for competitive intelligence?                   11:49:01

16              A.     I'm not aware if they did.               11:49:03

17              Q.     In any event, you're not aware of        11:49:09

18       an express policy prior to this time                   11:49:10

19       prohibiting these types of invasive techniques         11:49:14

20       at Uber; correct?                                      11:49:16

21                     MR. GONZALEZ:   Object to form.          11:49:18

22              A.     Again, as I've stated I'm not            11:49:20

23       aware of a competitive intelligence policy that        11:49:21

24       predates this one.                                     11:49:24

25              Q.     Including one that dictated              11:49:26
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                                                              Page 131
 1              take a break.                                  12:00:21

 2              A.      Okay.                                  12:00:24

 3     BY MR. KAPGAN:                                          12:00:24

 4              Q.      All right.                             12:00:24

 5                      So let me ask you:   This is           12:00:26

 6       basically a prohibition on unauthorized               12:00:32

 7       solicitation, receipt, use or replication of          12:00:35

 8       trade secret information; right?                      12:00:38

 9              A.      That's formally marked or believed     12:00:40

10       to be subject to a -- an NDA or confidentiality       12:00:42

11       agreement.                                            12:00:46

12              Q.      Are you aware of any policy at         12:00:46

13       Uber prior to July of 2017 that prohibited such       12:00:48

14       activity?                                             12:00:52

15              A.      Not aware of a policy.                 12:00:53

16              Q.      Are you aware of anyone in your        12:00:58

17       group or outside of your group at Uber,               12:01:01

18       including vendors, that engaged in unauthorized       12:01:05

19       solicitation, receipt, use or replication of          12:01:09

20       trade secret information or confidential              12:01:13

21       information of a third party?                         12:01:16

22              A.      No.                                    12:01:16

23              Q.      Have you discussed this policy         12:01:41

24       with anyone at Uber?                                  12:01:42

25              A.      I think I discussed it with Craig      12:01:51
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 27 of 65


                                                              Page 144
 1       competitors of Uber, as far as you can tell?          13:17:37

 2              A.     I would have to read it.                13:17:39

 3              Q.     All right.                              13:17:39

 4                     Well, if you take a look at the         13:17:46

 5       bottom -- towards the bottom of that page, do         13:17:48

 6       you see where it says:                                13:17:55

 7                     "Understanding the state of play        13:17:56

 8       in this race and distinguishing the leaders           13:17:57

 9       from the pretenders is critical to our own            13:18:00

10       leadership as they make the decisions and set         13:18:02

11       the policy for us to succeed before all               13:18:04

12       others"?                                              13:18:07

13              A.     I see that.                             13:18:07

14              Q.     Then it says:                           13:18:08

15                     "This intelligence collection           13:18:09

16       strategy in support of our leadership will be a       13:18:11

17       complex and enduring one.     It will be focused      13:18:13

18       on three areas:   Competitors, key personalities      13:18:15

19       and technologies."                                    13:18:15

20                     Do you see that?                        13:18:20

21              A.     I see it.                               13:18:21

22              Q.     Is it your understanding that this      13:18:22

23       document is intended to set out an intelligence       13:18:23

24       collection strategy in support of Uber's              13:18:27

25       leadership?                                           13:18:30
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 28 of 65


                                                              Page 145
 1              A.     It appears to be a philosophical        13:18:30

 2       approach to looking at the autonomous vehicle         13:18:33

 3       competitive landscape and -- from a collection        13:18:37

 4       standpoint.                                           13:18:41

 5              Q.     And do you see in the next              13:18:42

 6       paragraph, it says:                                   13:18:43

 7                     "The primary collection                 13:18:44

 8       methodologies will be open-source and HUMINT          13:18:45

 9       and will be conducted by assets, both internal        13:18:48

10       employees and external vendors"?                      13:18:52

11              A.     I see that.                             13:18:54

12              Q.     And did you have understanding          13:18:56

13       that Uber's primary collection methodologies in       13:18:59

14       terms of gaining competitive intelligence were        13:19:06

15       the things that are listed here?                      13:19:07

16              A.     No, I disagree with that.    I mean,    13:19:12

17       this strategy or this -- this document here,          13:19:13

18       what was outlined, was never actually carried         13:19:17

19       out.                                                  13:19:21

20              Q.     You haven't read the whole              13:19:21

21       document yet, have you?                               13:19:22

22              A.     I haven't read the whole document,      13:19:23

23       but insofar as what you've pointed out to me,         13:19:25

24       these are not things that were -- that were           13:19:28

25       undertaken.                                           13:19:30
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 29 of 65


                                                              Page 149
 1       yes.   I don't know whether or not they would         13:22:46

 2       deem it to be useful from a competitive               13:22:49

 3       standpoint.   It's not my ability to assess the       13:22:51

 4       value of the information because I'm not a            13:22:54

 5       subject matter expert.    All I can do is provide     13:22:56

 6       the information.                                      13:23:00

 7              Q.     There is no doubt that your team        13:23:01

 8       did research and provided competitive -- excuse       13:23:03

 9       me.                                                   13:23:07

10                     There is no doubt that your team        13:23:07

11       did research and provided information                 13:23:09

12       regardless of whether you thought it was              13:23:12

13       valuable or not, about Uber's competitors to          13:23:13

14       other groups at the company; correct?                 13:23:18

15              A.     We provided information and             13:23:21

16       research, open-source, and the -- the -- the          13:23:23

17       videotaping in -- in public of vehicles, as we        13:23:28

18       discussed, yes, to ATG.                               13:23:32

19              Q.     Okay.                                   13:23:34

20              A.     But if it's not valuable, how -- I      13:23:37

21       don't see how it could offer some sort of an          13:23:41

22       advantage.                                            13:23:43

23              Q.     You weren't there to assess the         13:23:43

24       value of that information; right?                     13:23:45

25              A.     That's correct.                         13:23:46
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 30 of 65


                                                              Page 151
 1              A.     Correct.                                13:24:33

 2              Q.     Mr. Levandowski or Mr. Ron did          13:24:36

 3       report back to you that they found it benefited       13:24:38

 4       them; correct?                                        13:24:40

 5              A.     That's correct.                         13:24:41

 6              Q.     In your view, does that mean that       13:24:44

 7       that information provided some form of                13:24:46

 8       competitive intelligence to the company?              13:24:48

 9              A.     The information was beneficial.         13:24:50

10       Whether or not it gave the company a                  13:24:52

11       competitive advantage, I don't know.                  13:24:54

12                     Again, that project was related to      13:25:01

13       helping inform the business on making a               13:25:03

14       business decision.                                    13:25:07

15              Q.     Okay.                                   13:25:08

16                     So going back to this document,         13:25:08

17       again, one of the collection methodologies that       13:25:11

18       your group engaged in was based on open-source        13:25:14

19       research; correct?                                    13:25:18

20              A.     Sorry.   One more time.                 13:25:23

21              Q.     One of the collection                   13:25:25

22       methodologies that your group implemented was         13:25:27

23       based on open-source research; correct?               13:25:33

24              A.     To my knowledge, we didn't              13:25:36

25       implement a strategy based on this document.          13:25:38
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 31 of 65


                                                              Page 152
 1               Q.    That's not my question.                 13:25:42

 2               A.    So -- okay.                             13:25:43

 3               Q.    Let me ask my question again.           13:25:44

 4               A.    Okay.                                   13:25:46

 5               Q.    One of the collection                   13:25:47

 6       methodologies that your group implemented was         13:25:48

 7       based on open-source research; correct?               13:25:50

 8               A.    Okay.   Yes.                            13:25:53

 9               Q.    In the last paragraph of this           13:26:01

10       second page of this document, it refers to            13:26:02

11       open-source as being a primary collection             13:26:04

12       methodology; correct?                                 13:26:07

13               A.    In the last paragraph, yes.             13:26:21

14               Q.    Do you interpret that to be             13:26:22

15       something other than what I just said about           13:26:24

16       your team doing collection based on open-source       13:26:26

17       research?                                             13:26:30

18               A.    No, I -- I mean, I understand what      13:26:45

19       it means, but it says that the methodology will       13:26:46

20       be.   We didn't actually engage on this project.      13:26:51

21       So --                                                 13:26:55

22               Q.    Well, you just said that you do do      13:26:56

23       open-source research.    So what is it that           13:26:58

24       you're saying you don't do here?                      13:27:01

25               A.    We didn't -- we didn't engage           13:27:03
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 32 of 65


                                                              Page 155
 1       in the field of autonomous vehicles?                  13:28:50

 2              A.     I don't -- I wouldn't really know.      13:28:53

 3              Q.     All right.                              13:28:53

 4                     And then you see it says:               13:28:55

 5                     "Giraffe believes that critical         13:28:57

 6       factor to success is hyperaccurate mapping"?          13:28:59

 7              A.     I see it.                               13:29:02

 8              Q.     Did you ever hear that before?          13:29:02

 9              A.     I believe it was reported in the        13:29:07

10       press, but that's my understanding of that            13:29:08

11       statement.                                            13:29:12

12              Q.     If you go to the next page, do you      13:29:12

13       see where it says "Collection Objectives"?            13:29:14

14              A.     Okay.                                   13:29:23

15              Q.     And the number one collection           13:29:24

16       objective is "Focused on Google."                     13:29:27

17                     Do you see that?                        13:29:28

18              A.     Yes.                                    13:29:29

19              Q.     And there are a number of               13:29:31

20       questions below that.                                 13:29:32

21                     Do you see that?                        13:29:33

22              A.     Yes.                                    13:29:33

23              Q.     The first collection objective is:      13:29:36

24                     "What original equipment                13:29:39

25       manufacturers OEM is Giraffe partnering with?"        13:29:40
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 33 of 65


                                                              Page 156
 1                      Do you see that?                       13:29:44

 2              A.      I do.                                  13:29:45

 3              Q.      Did your team ever try to figure       13:29:47

 4       out which OEMs Google was partnering with?            13:29:48

 5              A.      No.                                    13:29:48

 6              Q.      Did any vendors you hired or           13:29:55

 7       anyone else that you know of at the company do        13:29:57

 8       so?                                                   13:29:59

 9              A.      No, not that I'm aware of.             13:30:00

10              Q.      Do you see if you go down to D, it     13:30:11

11       says "What technology is Google outsourcing?"         13:30:17

12       It says "Giraffe," but that's a reference to          13:30:17

13       Google.                                               13:30:18

14              A.      I see it.                              13:30:19

15              Q.      Did you ever do any investigation,     13:30:20

16       or anyone on your team or your vendors do any         13:30:21

17       investigation, to your knowledge, to figure out       13:30:24

18       the answer to that question?                          13:30:27

19              A.      No.                                    13:30:27

20              Q.      And you're not aware of anyone at      13:30:32

21       Uber doing that?                                      13:30:33

22              A.      I'm not aware, no.                     13:30:34

23              Q.      How about G:                           13:30:39

24                      "Who are Giraffe's partners in the     13:30:40

25       AV program?"                                          13:30:42
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 34 of 65


                                                              Page 158
 1              A.     I do.                                   13:31:27

 2              Q.     Do you understand what that means?      13:31:28

 3              A.     Not specifically, no.                   13:31:39

 4              Q.     Do you have any understanding --        13:31:45

 5              A.     I -- I didn't write so I -- I           13:31:45

 6       don't know.                                           13:31:45

 7              Q.     Reading it now do you have any          13:31:45

 8       understanding of what that means?                     13:31:46

 9              A.     I could only guess that it means        13:31:52

10       just understand who the key players are in --         13:31:54

11       in the program.                                       13:31:57

12              Q.     Are you aware of any investigation      13:32:00

13       being done or that had been done at Uber or by        13:32:02

14       its vendors with respect to understanding who         13:32:07

15       the key players were within the Google or Waymo       13:32:12

16       autonomous vehicle program?                           13:32:18

17              A.     Nope.   I'm not aware.                  13:32:20

18              Q.     If you turn to the -- several           13:32:31

19       pages later, it's page 625.                           13:32:33

20              A.     625?                                    13:32:45

21              Q.     Yes.                                    13:32:45

22              A.     Okay.                                   13:32:47

23              Q.     Do you see it says "Collection          13:33:00

24       Plan" and then it says "Initial assessment of         13:33:01

25       the competitive landscape"?                           13:33:03
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                                                              Page 159
 1              A.     I see that.                             13:33:05

 2              Q.     And then if you go down to the          13:33:10

 3       next-to-last paragraph on that page, it says:         13:33:12

 4                     "To succeed, our collection plan        13:33:15

 5       must be both broad and deep.     It must be broad     13:33:16

 6       enough to develop streams of reporting on at          13:33:20

 7       least six different competitors."                     13:33:22

 8                     Do you see that?                        13:33:24

 9              A.     I see it.                               13:33:25

10              Q.     Google is included among those;         13:33:25

11       correct?                                              13:33:28

12              A.     It appears so, yes.                     13:33:28

13              Q.     And then next sentence says:            13:33:32

14                     "And the plan must be deep enough       13:33:34

15       to acquire in a timely manner meaningful              13:33:36

16       technical data and to identify legitimate             13:33:39

17       milestones on the road to AV level 5."                13:33:41

18                     Do you see that?                        13:33:46

19              A.     I see it.                               13:33:46

20              Q.     Are you aware of any activities at      13:33:48

21       Uber to acquire technical data about                  13:33:50

22       competitors' AV programs?                             13:33:57

23              A.     No.   What -- what do you mean by       13:34:03

24       "technical data"?                                     13:34:07

25              Q.     Let's start with data that was not      13:34:10
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                                                              Page 160
 1       available publicly on the Internet.                   13:34:12

 2               A.     Okay.   No, I'm not aware.             13:34:15

 3               Q.     Is there any other kind of             13:34:26

 4       technical data you're aware of that -- that           13:34:27

 5       anyone at Uber obtained or attempted to obtain        13:34:32

 6       about Google or Waymo's AV program or vehicles?       13:34:37

 7               A.     Nothing that I'm aware of.             13:34:43

 8               Q.     If you look at the next page, it       13:34:50

 9       says:                                                 13:34:53

10                     "Two-pronged collection.      Prong     13:34:54

11       one:    Establish and maintain the baseline."         13:34:57

12                     Do you see that?                        13:35:00

13               A.    I see it.                               13:35:01

14               Q.    And then there's an indication          13:35:02

15       "Open Source Research."                               13:35:05

16                     Do you see that?                        13:35:06

17               A.    Yes.                                    13:35:07

18               Q.    And it says:                            13:35:10

19                     "SSG analysts and operation             13:35:11

20       specialists will conduct daily open-source            13:35:13

21       research with nonattributable computers in            13:35:15

22       order to establish where each competitor likely       13:35:17

23       sits on the spectrum of AV research and testing       13:35:19

24       and to measure each competitor's claimed              13:35:22

25       progress on the road to AV level 5."                  13:35:24
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                                                              Page 161
 1                      Did you see that?   Do you see         13:35:26

 2       that?                                                 13:35:28

 3               A.     I see it.                              13:35:28

 4               Q.     Did any SSG analysts or others in      13:35:29

 5       the group do this?                                    13:35:32

 6               A.     Conduct a daily open-source            13:35:36

 7       research?    No.                                      13:35:38

 8               Q.     Did any of the folks in SSG            13:35:40

 9       conduct open-source research with                     13:35:42

10       nonattributable computers in order to establish       13:35:44

11       where competitors sat on the spectrum of AV           13:35:49

12       research and testing?                                 13:35:54

13               A.    I don't think that that occurred,       13:35:57

14       no.                                                   13:36:00

15               Q.    Did any folks in SSG conduct            13:36:01

16       research, whether or not it was on                    13:36:14

17       nonattributable computers, on competitors in          13:36:18

18       the AV field to try to see what their progress        13:36:24

19       was in that regard?                                   13:36:29

20                     MR. UMHOFER:   Objection, vague and     13:36:32

21               ambiguous, calls for speculation.             13:36:34

22               A.    What -- what progress?    In what       13:36:36

23       regard?                                               13:36:38

24               Q.    For example did anyone in SSG, to       13:36:41

25       your knowledge, conduct research to determine         13:36:45
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 38 of 65


                                                              Page 162
 1       how far along any particular competitor to Uber       13:36:46

 2       was in the development of their AV program?           13:36:51

 3              A.     I think that some team members on       13:36:56

 4       SSG conducted research open-source to provide         13:37:01

 5       background assessment on where competitors were       13:37:08

 6       in the AV space.                                      13:37:10

 7              Q.     Do you recall with respect to           13:37:17

 8       which competitors?                                    13:37:18

 9              A.     I -- I don't -- I don't recall if       13:37:33

10       I could say specifically each one.     I believe      13:37:38

11       that Ed Russo produced some sort of background        13:37:42

12       research on some -- on -- on Waymo in maybe           13:37:46

13       2016 in order to provide SSG a baseline of            13:37:53

14       understanding of -- of the AV program based on        13:38:00

15       open-source information.    Because at the time       13:38:04

16       SSG knew absolutely nothing and had to start          13:38:07

17       from scratch somewhere and just doing some            13:38:10

18       basic online research.                                13:38:14

19              Q.     Was that research that was              13:38:17

20       performed by Mr. Russo memorialized in some           13:38:18

21       kind of report or written document?                   13:38:21

22              A.     It's possible that it was.              13:38:23

23              Q.     Did you discuss it with him?            13:38:27

24              A.     I don't recall discussing it with       13:38:29

25       him.                                                  13:38:31
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 39 of 65


                                                              Page 165
 1       specialists will track the social media               13:41:13

 2       accounts, e.g., LinkedIn, Facebook, Twitter,          13:41:16

 3       et cetera, in order to map the personal and           13:41:19

 4       professional networks of key personnel."              13:41:21

 5                     Do you see that?                        13:41:24

 6              A.     I see it.                               13:41:24

 7              Q.     Do you know if that was ever done?      13:41:25

 8              A.     That was not done.                      13:41:26

 9              Q.     Do you know if there was a              13:41:28

10       decision made not to do that?                         13:41:29

11              A.     We never -- so broadly speaking we      13:41:33

12       didn't engage in this overall collection              13:41:36

13       strategy.   So, you know, the -- the components,      13:41:42

14       the -- the prongs, so to speak, didn't --             13:41:43

15       didn't become part of -- of any -- any of the         13:41:48

16       projects.   There was no formal project.              13:41:52

17              Q.     All right.                              13:41:52

18                     And do you see it says:                 13:42:03

19                     "Number 2.   Internal Resources"?       13:42:04

20              A.     Yes.                                    13:42:04

21              Q.     And it says:                            13:42:09

22                     "In order to build the subject          13:42:10

23       matter expertise necessary to drive collection,       13:42:11

24       SSG would like to meet on a semi-routine basis        13:42:13

25       with our own AV experts at Iden I, Iden J and         13:42:16
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 40 of 65


                                                              Page 168
 1               A.    No, not to my knowledge.                13:44:16

 2               Q.    D says:                                 13:44:21

 3                     "For those employees who came to        13:44:22

 4       us from competitors, gather insight into how          13:44:23

 5       those competitors structure their AV programs,        13:44:28

 6       the strengths and weaknesses of those programs,       13:44:31

 7       and the working conditions and resourcing of          13:44:33

 8       those programs."                                      13:44:35

 9                     Do you see that?                        13:44:36

10               A.    I see it.                               13:44:36

11               Q.    Do you have any knowledge of            13:44:38

12       whether that was done?                                13:44:39

13               A.    I don't have any knowledge it was       13:44:41

14       done.   I don't believe that SSG engaged in           13:44:42

15       those activities.                                     13:44:45

16               Q.    Do you know if any other group          13:44:46

17       did?                                                  13:44:47

18               A.    I don't.                                13:44:48

19               Q.    And the suggestion here is that --      13:44:49

20       as you understand it is that if employees from        13:44:51

21       competitors came over to be employed by Uber,         13:44:55

22       you could ask them about those competitors' AV        13:44:58

23       programs.                                             13:45:04

24                     Is that your understanding?             13:45:05

25               A.    I understand how you are                13:45:06
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 41 of 65


                                                                Page 172
 1       program in place that consisted of you doing or        13:49:31

 2       your team doing research about employees at            13:49:34

 3       competitor organizations for potential                 13:49:39

 4       recruitment?                                           13:49:41

 5              A.      We were asked to -- to source           13:49:44

 6       candidates from a few organizations                    13:49:46

 7       specifically, yes.                                     13:49:51

 8              Q.      Which ones do you remember?             13:49:53

 9              A.                         Those are the only   13:49:55

10       two I remember.                                        13:50:04

11              Q.      If you take a look down, do you         13:50:06

12       see where it says:                                     13:50:09

13                      "Prong two, attack the                  13:50:09

14       objectives"?                                           13:50:12

15              A.      Uh-huh.                                 13:50:12

16              Q.      And then the number one thing here      13:50:13

17       again is Giraffe or Google.    Do you see that?        13:50:15

18              A.      I do.                                   13:50:17

19              Q.      And then it says:                       13:50:17

20                      "Vendor 1 will use existing             13:50:18

21       capabilities and sources where possible or             13:50:21

22       develop new sources where necessary in order to        13:50:23

23       answer the collection requirements associated          13:50:26

24       with Giraffe."                                         13:50:28

25                      Do you see that?                        13:50:29
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 42 of 65


                                                              Page 173
 1                A.   I see it.                               13:50:31

 2                Q.   Did Uber hire a vendor to collect       13:50:34

 3       information about Google as indicated here?           13:50:43

 4                A.   Not that I'm aware of.                  13:50:46

 5                Q.   Do you know who the vendor 1 is         13:50:49

 6       that's being referenced here?                         13:50:52

 7                A.   I don't.                                13:50:53

 8                Q.   Have you ever seen vendor 1 or          13:50:54

 9       vendor 2 referenced in any of their other             13:50:56

10       documents during your time at Uber?                   13:51:00

11              A.     Not that I recall specifically.    I    13:51:03

12       mean, this probably is just a generic, again,         13:51:05

13       use of -- similar to the Iden type of --              13:51:10

14              Q.     Seeing vendor 1 and vendor 2 here,      13:51:17

15       would you expect that there is a different            13:51:19

16       document that would have a key that would             13:51:21

17       identify who vendor 1 is and who vendor 2 is?         13:51:22

18              A.     It -- again, it's possible, but         13:51:27

19       seeing "Draft" on this, I don't know whether or       13:51:29

20       not that would have ever been produced.               13:51:32

21              Q.     Did your group ever hire a vendor       13:51:42

22       called              to do research about Waymo        13:51:44

23       or Google?                                            13:51:48

24              A.     No.                                     13:51:50

25              Q.     Have you heard of that vendor?          13:51:52
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 43 of 65


                                                              Page 179
 1              A.     Well, it's difficult to know            14:00:05

 2       whether or not our own AV expert would be able        14:00:07

 3       to speak on behalf of a competitor.     All we can    14:00:09

 4       do is ascertain what knowledge they have from         14:00:12

 5       their own experience.                                 14:00:14

 6              Q.     Right.    But --                        14:00:15

 7              A.     But as subject matter experts, we       14:00:16

 8       have to rely on what information they can             14:00:18

 9       provide us because we're not subject matter           14:00:20

10       experts ourselves.                                    14:00:22

11              Q.     And are you aware of internal AV        14:00:23

12       experts at Uber providing that kind of                14:00:27

13       information about competitor AV programs?             14:00:29

14              A.     I don't recall ever asking or I         14:00:33

15       don't recall SSG ever asking anyone at A -- at        14:00:39

16       ATG for their assessment on competitor AV             14:00:44

17       programs.                                             14:00:47

18              Q.     You noticed that there was a            14:00:48

19       "Draft" on every page of this document.     Did       14:01:02

20       you ever receive training on placing the              14:01:05

21       "Draft" label on documents from anyone, Craig         14:01:08

22       Clark or anyone else?                                 14:01:12

23              A.     I never received training on doing      14:01:13

24       that, no.                                             14:01:15

25              Q.     Did you receive training on             14:01:15
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 44 of 65


                                                              Page 180
 1       attorney-client privileged labels on documents?       14:01:18

 2              A.     Yes.                                    14:01:18

 3              Q.     Was any of that training given, to      14:01:20

 4       your knowledge, to the folks in ATG?                  14:01:25

 5              A.     I don't know.                           14:01:28

 6              Q.     And what do you recall about the        14:01:31

 7       training that you received with respect to            14:01:33

 8       attorney-client privilege?    How many times did      14:01:36

 9       you get that kind of training?                        14:01:38

10              A.     I recall receiving two briefings,       14:01:40

11       two presentations.                                    14:01:43

12              Q.     Who gave those presentations?           14:01:46

13              A.     Craig Clark.                            14:01:48

14              Q.     Did he use a slide deck?                14:01:49

15              A.     Yes.                                    14:01:49

16              Q.     Did he use -- did it have pictures      14:01:53

17       of dogs?                                              14:01:56

18              A.     The second one I saw did, yes.          14:01:57

19              Q.     The first one didn't have any           14:01:59

20       pictures of dogs?                                     14:02:01

21              A.     I don't think so.                       14:02:02

22              Q.     So he came up with kind of a            14:02:03

23       clever way to do -- to explain attorney-client        14:02:04

24       privilege by using some kind of dog meme; is          14:02:08

25       that the idea?                                        14:02:10
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 45 of 65


                                                              Page 191
 1              A.       I have no idea.                       14:15:15

 2              Q.       Was there some form, capability of    14:15:16

 3       doing mobile phone collections by any of your         14:15:20

 4       vendors?                                              14:15:23

 5              A.       No.   To my knowledge, neither we     14:15:24

 6       nor our vendors have the ability to physically        14:15:26

 7       collect on a mobile phone.                            14:15:29

 8              Q.       Or electronically collect on a        14:15:32

 9       mobile phone?                                         14:15:34

10              A.     Or electronically collect on a          14:15:35

11       mobile phone.                                         14:15:37

12              Q.     You never had a discussion with         14:15:37

13       Mr. Jacobs that one of your vendors had some          14:15:40

14       form of mobile phone collection capability?           14:15:47

15              A.     I don't recall having a discussion      14:15:49

16       like that.                                            14:15:51

17              Q.     Do you recall telling Mr. Jacobs        14:15:51

18       to remove information about certain vendor            14:16:10

19       capabilities from any slide decks or                  14:16:16

20       presentations that he or others were preparing?       14:16:21

21              A.     I don't recall doing that, no.          14:16:23

22              Q.     Do you recall Mr. Jacobs proposing      14:16:28

23       the creation of some kind of intelligence             14:16:30

24       database?                                             14:16:33

25              A.     No.                                     14:16:33
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 46 of 65


                                                              Page 192
 1              Q.     He never to your knowledge              14:16:36

 2       proposed any kind of creation of a database to        14:16:38

 3       store or combine information from different           14:16:46

 4       groups at Uber?                                       14:16:48

 5              A.     He never proposed any such thing.       14:16:50

 6       There was a joint project that was worked on          14:16:52

 7       amongst Threat Ops to try and create a data           14:16:56

 8       repository, but it was not his proposal or his        14:16:59

 9       creation, and he didn't unilaterally work on          14:17:02

10       it.                                                   14:17:04

11              Q.     Was he involved in it at all, as        14:17:05

12       far as you know?                                      14:17:07

13              A.     As the manager for Intel, he was        14:17:07

14       the representative of that team on this joint         14:17:09

15       project.                                              14:17:11

16              Q.     I see.                                  14:17:11

17                     And did that database get created?      14:17:12

18              A.     It did not.                             14:17:14

19              Q.     What's your understanding of the        14:17:17

20       reason why it didn't?                                 14:17:19

21              A.     Because we were reliant on              14:17:20

22       internal engineering resources to build it, and       14:17:22

23       the group ENGSEC, or Engineering Security, told       14:17:26

24       us that they did not have the resources to            14:17:31

25       devote to building a system for us, which was         14:17:33
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 47 of 65


                                                               Page 193
 1       disappointing.                                        14:17:48

 2              Q.       You never objected to the creation    14:17:49

 3       of that database?                                     14:17:50

 4              A.       Absolutely not.   I worked with the   14:17:52

 5       others in Threat Ops to -- to -- to create the        14:17:55

 6       specifications and map out the workflow, and I        14:18:00

 7       attended multiple meetings on it.                     14:18:03

 8              Q.       Do you recall ever telling            14:18:07

 9       Mr. Gicinto or anyone else --                         14:18:11

10              A.      Sorry.   That's me.                    14:18:12

11              Q.      I'm sorry.    Let me restate that.     14:18:14

12              A.      Okay.                                  14:18:17

13              Q.      It's -- it's what happens after        14:18:18

14       you take two full days of depos.                      14:18:20

15                      [Laughter.]                            14:18:22

16              Q.      Do you recall ever telling             14:18:26

17       Mr. Jacobs or anyone else at Uber to remove or        14:18:29

18       not place information in a presentation or            14:18:35

19       other type of document about human intelligence       14:18:38

20       collections?                                          14:18:44

21              A.      I don't recall ever stating that       14:18:46

22       to him.     And as the manager of another team,       14:18:48

23       I'm not clear why he would even be presenting         14:18:52

24       on something that my team does.                       14:18:54

25              Q.      You don't recall having a              14:19:01
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 48 of 65


                                                              Page 196
 1       that those are untruthful characterizations           14:22:02

 2       made by Mr. Jacobs.                                   14:22:06

 3                      MS. CHANG:    Counsel, we've been      14:22:12

 4               going for over an hour, so when you're        14:22:14

 5               at a good stopping point maybe we can         14:22:16

 6               take a break.                                 14:22:18

 7                      MR. KAPGAN:   Okay.                    14:22:21

 8     BY MR. KAPGAN:                                          14:22:21

 9               Q.     Did Mr. Jacobs ever object to the      14:22:35

10       use of ephemeral communications?                      14:22:39

11               A.     No.   To my knowledge he was an        14:22:43

12       avid user.                                            14:22:48

13               Q.     Do you have any familiarity with       14:22:51

14       the incident that Jacobs alleged in his letter        14:22:55

15       about                                                 14:22:59

16                                                             14:23:04

17               A.     So I don't have the letter in          14:23:07

18       front of me.   Forgive me.                            14:23:09

19               Q.     Are you familiar with Uber             14:23:11

20                                                             14:23:15

21                                                             14:23:19

22                                                    s        14:23:22

23                                                             14:23:29

24               A.     No, I have no knowledge about          14:23:30

25       that.                                                 14:23:31
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 49 of 65


                                                              Page 250
 1       attend.     Mat Henley attends and Susan Chiang       16:05:26

 2       attends.                                              16:05:29

 3              Q.      Okay.                                  16:05:37

 4                      And are those all the people you       16:05:37

 5       remember attending this meeting?                      16:05:37

 6              A.      As far as I know, yeah.                16:05:37

 7              Q.      All right.                             16:05:37

 8                      If you look at the second page, it     16:05:37

 9       says TLDR.     That stands for too long, didn't       16:05:39

10       read; right?                                          16:05:43

11              A.      Too long, don't read.                  16:05:44

12              Q.      And this is basically an executive     16:05:45

13       summary of the document; is that fair?                16:05:48

14              A.      That's fair, yes.                      16:05:50

15              Q.      And then the first bullet says:        16:05:50

16                      "Success in autonomous vehicle         16:05:55

17       race ultimately hinges on the source code."           16:05:58

18                      Do you see that?                       16:06:01

19              A.      I see that it says that, yes.          16:06:01

20              Q.      And do you agree with that             16:06:03

21       statement?                                            16:06:05

22              A.      It was conveyed to us that -- from     16:06:05

23       Uber engineers that -- that, ultimately, to get       16:06:07

24       to the highest AV level that, you know, it's up       16:06:12

25       to -- it's up to creation of a good source            16:06:17
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 50 of 65


                                                              Page 251
 1       code.                                                 16:06:20

 2               Q.    And the second bullet says:             16:06:20

 3                     "Giraffe leads the other 30-plus        16:06:22

 4       companies in the race to field fully autonomous       16:06:24

 5       vehicles."                                            16:06:29

 6                     Do you see that?                        16:06:30

 7               A.    I see it.                               16:06:30

 8               Q.    That's a reference to Google;           16:06:31

 9       right?                                                16:06:32

10               A.    Yes.                                    16:06:32

11               Q.    And do you agree with that              16:06:34

12       statement?                                            16:06:35

13               A.    I agree that that was likely the        16:06:36

14       assessment of the team at the time based on           16:06:38

15       whatever limited knowledge it may have of, you        16:06:43

16       know, autonomous vehicle from its -- its              16:06:47

17       open-source research.                                 16:06:49

18               Q.    Did that include research               16:06:50

19       internally speaking to experts within Uber            16:06:52

20       about that subject?                                   16:06:56

21               A.    Again, we didn't speak to experts       16:06:59

22       within Uber in requesting their assessment of         16:07:01

23       other companies, as I recall.                         16:07:05

24               Q.    You didn't speak to the ATG group       16:07:07

25       to get their views on the autonomous vehicle          16:07:10
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 51 of 65


                                                              Page 254
 1              Q.     So did you receive validation from      16:09:19

 2       Mr. Ron and Mr. Levandowski in February of 2017       16:09:23

 3       that the number one focus of the SSG Group in         16:09:29

 4       terms of research on autonomous vehicles should       16:09:32

 5       be with respect to Google or Waymo?                   16:09:33

 6              A.     It was articulated to us that that      16:09:35

 7       was a primary interest of theirs, but it wasn't       16:09:39

 8       necessarily what SSG focused on first or              16:09:41

 9       initially.                                            16:09:44

10              Q.     And did they tell you why that was      16:09:45

11       a primary interest to them?                           16:09:47

12              A.     No.                                     16:09:47

13              Q.     If you turn to the next page, this      16:09:49

14       is ending in 931, it says "Baseline Research."        16:09:52

15       First bullet says:                                    16:09:56

16                     "Source code, not hardware              16:09:58

17       automotive design, is the key to success. "           16:09:59

18              A.     Yes.                                    16:10:02

19              Q.     You agree with that?                    16:10:02

20              A.     I agree that that's what the --         16:10:04

21       the engineers at ATG in Pittsburgh communicated       16:10:06

22       to us in terms of, you know, what they deemed         16:10:10

23       to be most critical in advancing our own AV           16:10:12

24       program.                                              16:10:17

25              Q.     If you look at the next page, it's      16:10:18
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                                                              Page 295
 1              Q.       Based on your experience, did         17:16:08

 2       you -- or do you agree with Mr. Ron that supply       17:16:12

 3       chain members tend to be chatty?                      17:16:17

 4              A.       I had no experience with supply       17:16:18

 5       chain members, so I couldn't corroborate that         17:16:20

 6       statement.                                            17:16:23

 7              Q.       Nonetheless, that's a statement       17:16:25

 8       that Mr. Ron made; correct?                           17:16:27

 9              A.       It's either a statement that he       17:16:29

10       made or that Mr. Russo is paraphrasing here.          17:16:31

11              Q.     And Mr. Russo also is either            17:16:36

12       stating or paraphrasing Mr. Ron's conveying           17:16:41

13       that supply chain members not only are chatty,        17:16:44

14       but they're also good sources of insight into         17:16:47

15       competitor's plans, intentions and                    17:16:50

16       capabilities; correct?                                17:16:52

17              A.     Again, my understanding is that's       17:16:53

18       based on the information that they make               17:16:55

19       publicly available.                                   17:16:56

20              Q.     Well, it doesn't say that here.         17:16:59

21       It just says:                                         17:17:00

22                     "Supply chain members are chatty        17:17:02

23       and are good sources of insight into a                17:17:03

24       competitor's plans, intentions and                    17:17:05

25       capabilities."                                        17:17:06
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                                                              Page 296
 1                     Right?                                  17:17:07

 2              A.     Well, if Mr. Russo is paraphrasing      17:17:08

 3       there, it's unclear specifically what Mr. Ron         17:17:09

 4       was referring to.     But I can state that our        17:17:13

 5       team did not engage any supply chain members          17:17:15

 6       that I am aware of in order to gain insight           17:17:20

 7       into plans, intentions and capabilities.              17:17:26

 8              Q.     Okay.                                   17:17:32

 9                     And did any of Uber's vendors do        17:17:32

10       that, to your knowledge?                              17:17:34

11              A.     Not to my knowledge.                    17:17:37

12              Q.     Is there any reason for you to          17:17:39

13       believe that there was a vendor engaged by Uber       17:17:41

14       that spoke with supply chain vendors or               17:17:45

15       suppliers to any autonomous vehicle competitor        17:17:50

16       of Uber's?                                            17:17:54

17              A.     Not to my knowledge.    To my           17:17:55

18       knowledge, SSG isn't even aware of who the            17:17:57

19       supply chain members are related to Waymo.            17:18:01

20              Q.     Did you ever make any effort to         17:18:04

21       identify who the supply chain members to Waymo        17:18:06

22       are?                                                  17:18:08

23              A.     Nope.                                   17:18:10

24              Q.     Did Mr. Ron ever tell you or            17:18:10

25       Mr. Levandowski ever tell you who they were?          17:18:12
Case 3:17-cv-00939-WHA Document 2501-5 Filed 01/19/18 Page 54 of 65


                                                              Page 305
 1              A.     I have seen iterations of this          17:28:33

 2       document.   I don't know whether I've seen this       17:28:35

 3       version specifically.                                 17:28:37

 4              Q.     There were multiple versions of         17:28:38

 5       this document?                                        17:28:40

 6              A.     There were -- it was an ongoing         17:28:41

 7       project by Anna Chung to create this document.        17:28:44

 8       So in her progression of creating it, there           17:28:48

 9       were multiple drafts as she -- as she worked          17:28:52

10       through the process of building it.                   17:28:55

11              Q.     What was the purpose of this            17:28:57

12       document?                                             17:28:58

13              A.     The purpose of this document was        17:29:06

14       to establish standards for -- for conducting          17:29:06

15       Internet and virtual research against persons         17:29:13

16       or groups of interest, which for us is a -- a         17:29:21

17       term used in physical security to mean                17:29:24

18       individuals who are threatening Uber or Uber          17:29:26

19       equities or resources.                                17:29:30

20              Q.     Was the purpose of this document        17:29:31

21       solely to establish standards with respect to         17:29:34

22       doing research in connection with individuals         17:29:42

23       or groups who are threatening Uber?                   17:29:47

24              A.     Yes.   That's what a POI or a GOI       17:29:49

25       is in our vernacular.                                 17:29:52
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                                                              Page 306
 1              Q.       Okay.                                 17:29:55

 2                       So a POI or GOI refers only to        17:29:56

 3       folks who are potential threats to Uber?              17:30:00

 4              A.       Correct.   The physical security      17:30:02

 5       team maintains a list of persons of interest          17:30:04

 6       and groups of interest because of some sort of        17:30:06

 7       a threatening posture -- threats that they've         17:30:08

 8       actually made to the company, physical issues         17:30:12

 9       that have been observed on the platform,              17:30:15

10       something to that effect -- all over the world.       17:30:17

11       And so this virtual ops capability playbook is        17:30:21

12       in support of what would be, you know,                17:30:26

13       misattributable research into those types of          17:30:30

14       entities to protect Uber, to protect the              17:30:33

15       identity of the researcher.                           17:30:38

16              Q.     Let me show you what was marked as      17:30:41

17       Exhibit 9231.                                         17:30:43

18              A.     Okay.                                   17:30:45

19              Q.     Have you seen this document             17:30:45

20       before?                                               17:31:02

21              A.     I've -- I've seen -- I have not         17:31:04

22       seen the document, but I've seen -- I believe         17:31:06

23       I've seen the presentation.                           17:31:08

24              Q.     Were there other iterations of          17:31:10

25       this presentation that you're aware of?               17:31:13
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                                                              Page 319
 1       activities or how they changed or didn't              17:56:45

 2       change.                                               17:56:47

 3                Q.   Let me show you Exhibit 9204.           17:56:49

 4       Have you seen this document before?                   17:57:05

 5                A.   I don't recall seeing this              17:57:07

 6       document, no.                                         17:57:08

 7                Q.   Is this -- do you know whether          17:57:11

 8       someone in your group created this?                   17:57:12

 9                A.   My guess is that someone in my          17:57:15

10       group did create this as it related to SSG            17:57:16

11       attending CES 2017.                                   17:57:20

12              Q.     That's what you were mentioning         17:57:22

13       earlier; right?                                       17:57:24

14              A.     Yes.                                    17:57:25

15              Q.     Do you see under priorities of          17:57:26

16       collection, there is a number -- number of            17:57:27

17       items?                                                17:57:29

18              A.     Yes.                                    17:57:29

19              Q.     Number one is source code?              17:57:31

20              A.     Yes.                                    17:57:32

21              Q.     What do you understand that to          17:57:33

22       refer to?                                             17:57:34

23              A.     I understand that to refer to           17:57:35

24       interest in, you know, comments, discussions          17:57:41

25       made publicly at CES related to source code as        17:57:45
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                                                              Page 320
 1       we understood that to be an important aspect of       17:57:48

 2       the success of an autonomous program.                 17:57:51

 3               Q.     Did you have any expectation that      17:57:53

 4       anyone at CES would make any comments about           17:57:55

 5       source code?                                          17:57:59

 6               A.     I don't know that we necessarily       17:58:01

 7       knew what to expect.    But we wanted to be           17:58:02

 8       prepared in understanding what would be               17:58:06

 9       important.                                            17:58:08

10               Q.     Did Mr. Ron or Mr. Levandowski         17:58:09

11       indicate that this -- that source code or             17:58:12

12       information about source code should be a             17:58:15

13       priority in terms of your collection efforts in       17:58:17

14       2017?                                                 17:58:19

15               A.     We attended CES prior to ever          17:58:20

16       meeting Mr. Ron or Mr. Levandowski.     So CES was    17:58:25

17       more of a background research project for SSG         17:58:28

18       to get better informed about players in the           17:58:31

19       autonomous space.                                     17:58:33

20               Q.     But you knew that source code was      17:58:34

21       important at least from the ATG group?                17:58:36

22               A.     Based on the discussions we had        17:58:38

23       with our engineers in November who stated the         17:58:40

24       importance of source code to our own project,         17:58:43

25       yes.                                                  17:58:45
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                                                              Page 321
 1                Q.    Did you have any expectation or        17:58:45

 2       indication as to how you would obtain                 17:58:49

 3       information about source code at CES 2017?            17:58:52

 4                A.    Absolutely not.                        17:58:57

 5                Q.    Did you --                             17:58:58

 6                A.    We had no expectation or plans to      17:58:59

 7       try and obtain source code.                           17:59:01

 8                Q.    Okay.                                  17:59:02

 9                      But, nonetheless, in this document     17:59:03

10       the first priority under collection is source         17:59:06

11       code; right?                                          17:59:08

12              A.      I see what it says, yes.   But it      17:59:10

13       doesn't mean that we were trying to collect it.       17:59:12

14       It meant that it was a topic of interest.     The     17:59:14

15       purpose at CES is to, again, listen to public         17:59:19

16       presentations by speakers in the autonomous           17:59:27

17       space.    If they happen to discuss source            17:59:29

18       code-related topics, that would have been             17:59:31

19       something to pay attention to because we              17:59:32

20       understood source code to be important.               17:59:34

21              Q.      Prior to attending CES 2017, your      17:59:37

22       testimony is you had no actual plan on how you        17:59:40

23       would collect information about source code?          17:59:44

24              A.      We had no intention or plans to        17:59:46

25       collect source code.                                  17:59:49
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                                                              Page 322
 1              Q.     Well, you had a priority for            17:59:50

 2       collection listed here.     Number one priority is    17:59:53

 3       source code; right?                                   17:59:56

 4              A.     As a topic of conversation              17:59:58

 5       publicly, it would be something that we should        18:00:02

 6       pay attention to but not as a particular item         18:00:06

 7       that we were trying to collect on specifically.       18:00:09

 8       As it -- if you were inferring, you know,             18:00:14

 9       collecting somebody's proprietary source code,        18:00:18

10       no, that was not our intention.                       18:00:20

11              Q.     I'm just reading what's in the          18:00:22

12       document.   Number one priority, source code.         18:00:23

13              A.     And I'm clarifying for you what's       18:00:26

14       in the document.                                      18:00:28

15              Q.     There are a number of other items       18:00:29

16       under collection, including competitor                18:00:31

17       relationships and supply chain issues as well         18:00:34

18       as technological limitations and hurdles.             18:00:37

19                     Do you see those?                       18:00:40

20              A.     Yes.                                    18:00:40

21              Q.     Did you collect any information on      18:00:42

22       those subjects at CES 2017?                           18:00:44

23              A.     I don't believe so.    My               18:00:48

24       understanding was that CES was not a valuable         18:00:49

25       use of our time.     And half of us weren't able      18:00:55
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                                                              Page 323
 1       to attend as planned, so our resources were           18:01:00

 2       limited.                                              18:01:03

 3                Q.   Did Mr. Nocon and Ms. Chung attend      18:01:03

 4       the conference?                                       18:01:06

 5                A.   Yes.                                    18:01:06

 6                Q.   Anyone else from your team attend       18:01:08

 7       the conference?                                       18:01:10

 8                A.   No.                                     18:01:10

 9                Q.   Number one priority in terms of         18:01:13

10       organizations and collecting information about        18:01:15

11       organizations is listed as Google; is that            18:01:19

12       right?                                                18:01:19

13              A.     Correct.                                18:01:22

14              Q.     All right.                              18:01:22

15                     Do you recall receiving the report      18:01:37

16       from CES 2017 about a conversation that               18:01:39

17       Ms. Chung had with a Korean supplier of LiDAR         18:01:45

18       systems?                                              18:01:50

19              A.     I recall receiving a report.    I       18:01:50

20       don't recall receiving a report, but I do             18:01:55

21       recall the instance.                                  18:01:57

22              Q.     Do you recall that Ms. Chung            18:02:01

23       learned that this South Korean LiDAR company          18:02:04

24       claimed to be a potential vendor to Google?           18:02:10

25              A.     As I recall, yes, they boasted          18:02:14
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                                                              Page 324
 1       about a potential relationship.                       18:02:18

 2              Q.     And I'll show you Exhibit 9210.         18:02:22

 3       Can you confirm for me that this is the report        18:02:26

 4       that we were just discussing?                         18:02:29

 5              A.     Yes.                                    18:02:29

 6              Q.     Was this report circulated outside      18:02:49

 7       of the SSG Group?                                     18:02:51

 8              A.     I do not believe it was.    I           18:02:55

 9       believe the nature of what is described here          18:02:58

10       was discussed with Mr. Levandowski in the             18:03:04

11       February 14 meeting, and he confirmed that the        18:03:09

12       information was garbage and not of interest.          18:03:12

13              Q.     Do you know how he knew that?           18:03:16

14              A.     I believe his comment was               18:03:18

15       something to the effect of:                           18:03:19

16                     "There are so many suppliers who        18:03:23

17       would claim to have partnerships in order to          18:03:24

18       gin-up business that it's difficult to assess         18:03:28

19       anyone as credible."                                  18:03:31

20              Q.     Did he indicate that this               18:03:34

21       basically was a false report from the South           18:03:36

22       Korean LiDAR company?                                 18:03:40

23              A.     I don't recall whether he deemed        18:03:44

24       it to be false.   I think he questioned the           18:03:46

25       credibility because, in general, he understood        18:03:50
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                                                              Page 325
 1       vendors, particularly at trade shows, to -- to        18:03:54

 2       boast such things in order to gin-up interest         18:03:58

 3       in business.    And that was a -- certainly a         18:04:00

 4       learning experience for our team, that things         18:04:03

 5       of this nature were not useful.                       18:04:05

 6              Q.      Did he suggest to you other ways       18:04:07

 7       that you could collect relevant information or        18:04:09

 8       information that he would find relevant with          18:04:12

 9       respect to autonomous vehicle competitors?            18:04:15

10              A.      No.   He simply stated that this       18:04:18

11       was not a good use of time.                           18:04:20

12              Q.      Did he suggest other ways that you     18:04:22

13       could collect information that would be useful        18:04:24

14       to him?                                               18:04:26

15              A.      What came out of that meeting,         18:04:26

16       again, was the priorities outlined in the             18:04:28

17       document we were discussing previously.     I can     18:04:29

18       look up the number if you would like.                 18:04:32

19       But -- 9205.   That's what he outlined as the         18:04:39

20       issues that he wanted us to focus on.                 18:04:42

21              Q.      Do you recall working on a data        18:04:55

22       retention policy document with Craig Clark for        18:04:55

23       this SSG Group?                                       18:04:56

24              A.      I re- -- I don't know that I           18:04:59

25       recall -- vaguely.                                    18:05:07
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                                                              Page 334
 1                Q.   To your knowledge, did the              18:15:10

 2       Dropboxes used by SSG ever contain Waymo or           18:15:11

 3       Google information?                                   18:15:15

 4                A.   No, not to my knowledge.                18:15:16

 5                Q.   To your knowledge, did the              18:15:19

 6       Nextcloud system used by SSG ever contain Waymo       18:15:21

 7       or Google information?                                18:15:24

 8                A.   It's possible that some of the          18:15:33

 9       documents we've discussed today were -- resided       18:15:34

10       in the Nextcloud system, and some of these            18:15:39

11       documents that we've discussed have referenced        18:15:41

12       Waymo.                                                18:15:44

13              Q.     I want to draw a distinction            18:15:48

14       between documents that reference Waymo or             18:15:49

15       Google and documents that belong to Waymo or          18:15:51

16       Google.                                               18:15:53

17              A.     Oh, I'm sorry.                          18:15:53

18              Q.     To your knowledge, did the              18:15:55

19       Nextcloud system used by SSG ever contain Waymo       18:15:56

20       or Google information?                                18:16:00

21              A.     Owned by Waymo or Google?               18:16:04

22              Q.     That's right.                           18:16:06

23              A.     No.   No, it did not.                   18:16:06

24              Q.     To your knowledge, did any              18:16:09

25       nonattributable or misattributable device ever        18:16:12
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                                                              Page 335
 1       contain any Waymo or Google information?              18:16:16

 2                A.    No.    It never -- they never          18:16:22

 3       contained information to my knowledge that was        18:16:24

 4       the property of Waymo or Google.                      18:16:27

 5                      MS. CHANG:    No further questions.    18:16:29

 6                      MR. KAPGAN:    Just real quick.        18:16:31

 7                     FURTHER EXAMINATION                     18:16:42

 8     BY MR. KAPGAN:                                          18:16:42

 9                Q.    Do you stand by all the testimony      18:16:47

10       that you gave in response to my questions             18:16:48

11       today?                                                18:16:51

12              A.      Yes.                                   18:16:51

13              Q.      Is there any testimony that you        18:16:53

14       believe you need to change?                           18:16:54

15              A.      None that I can think of.              18:17:00

16              Q.      And to be clear, you never did an      18:17:01

17       investigation into Mr. Levandowski's use of           18:17:04

18       Google or Waymo confidential information or           18:17:09

19       trade secrets; correct?                               18:17:12

20              A.      Correct.                               18:17:13

21                      MR. KAPGAN:   No more questions.       18:17:14

22                      MS. CHANG:    I would just like to     18:17:17

23              state on the record that we reserve            18:17:18

24              Mr. Gicinto's right to correct any             18:17:20

25              testimony as part of his errata.               18:17:23
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1                         C E R T I F I C A T E
2
3                            I, PAUL J. FREDERICKSON, CA
         Certified Shorthand Reporter No. 13164 and
4        WA Certified Court Reporter No. 2419, do
         hereby certify:
5                            That prior to being examined,
         the witness named in the foregoing
6        deposition was by me duly sworn or affirmed
7        to testify to the truth, the whole truth and
8        nothing but the truth;
9                            That said deposition was taken
         down by me in shorthand at the time and
10       place therein named, and thereafter reduced
11       to print by means of computer-aided
12       transcription; and the same is a true,
13       correct and complete transcript of said
14       proceedings.
                             I further certify that I am not
15       interested in the outcome of the action.
16                           Witness my hand this 22nd day
17       of December 2017.
18
19
20
21
22                        <%signature%>
23               PAUL J. FREDERICKSON, CCR, CSR
24               WA CCR 2419        CA CSR 13164
25               Expiration date:             March 31, 2018

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